 Case 1:22-ap-01010-MT          Doc 21 Filed 01/25/23 Entered 01/25/23 12:43:52       Desc
                                 Main Document    Page 1 of 6



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5    Attorneys for Plaintiffs, THE PEOPLE OF THE
     STATE OF CALIFORNIA, by and through
6    GEORGE GASCÓN, Los Angeles County
     District Attorney, COUNTY OF LOS ANGELES
7    and LOS ANGELES COUNTY DEPARTMENT
     OF PUBLIC HEALTH ACTING AS THE
8    LOCAL ENFORCEMENT AGENCY

9                               UNITED STATES BANKRUPTCY COURT

10                               CENTRAL DISTRICT OF CALIFORNIA

11                                SAN FERNANDO VALLEY DIVISION

12   In re                                          Case No. 1:21-bk-11781-MT

13   ANDREA LYNN MURRAY,                            Chapter 7

14                Debtor.

15                                                  Adv No. 1:22-ap-01010-MT

16   THE PEOPLE OF THE STATE OF                     STIPULATION FOR ENTRY OF ORDER
     CALIFORNIA, by and through GEORGE              CONTINUING MEDIATION
17   GASCÓN, Los Angeles County District            CONFERENCE
     Attorney, COUNTY OF LOS ANGELES and
18   LOS ANGELES COUNTY DEPARTMENT
     OF PUBLIC HEALTH ACTING AS THE                 Status Conference:
19   LOCAL ENFORCEMENT AGENCY,                      Date: May 15, 2023
                                                    Time: 10:00 a.m.
20                Plaintiffs,                       Place: Courtroom 302
                                                           United States Bankruptcy Court
21           v.                                            21041 Burbank Boulevard
                                                           Woodland Hills, CA 91367
22   ANDREA LYNN MURRAY, and DOES 1-
     10;
23
                  Defendants.                       [NO HEARING REQUIRED]
24

25
             TO THE HONORABLE MAUREEN A. TIGHE, UNITED STATES BANKRUPTCY
26
     JUDGE AND ALL PARTIES IN INTEREST:
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                                                   1
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 Case 1:22-ap-01010-MT         Doc 21 Filed 01/25/23 Entered 01/25/23 12:43:52                 Desc
                                Main Document    Page 2 of 6



1           This Stipulation For Entry of Order Continuing Mediation Conference (the “Stipulation”), is

2    entered into by and between the above-captioned Defendant, Andrea Lynn Murray (the

3    “Defendant”), on the one hand, and The People of the State of California (the “People”), by and

4    through George Gascón, Los Angeles County District Attorney, the County of Los Angeles (the

5    “County”) and Los Angeles County Department of Public Health Acting as the Local Enforcement

6    Agency (“LEA”) (collectively, the “Plaintiffs”), on the other hand (collectively, the “Parties”), with

7    regard to the following facts and recitals:

8                                                  RECITALS

9           A.      On October 27, 2021 (the “Petition Date”), the Debtor filed a voluntary petition

10   under chapter 7 of Title 11 of the United States Code.

11          B.      On February 4, 2022, the Plaintiffs commenced an adversary proceeding (the

12   “Adversary Proceeding”) by filing a Complaint For Determination Of Non-Dischargeable Debts

13   Pursuant To 11 U.S.C. § 523(a)(6) and 523(a)(7) (the “Complaint”) [Adv. Docket No. 1].

14          C.      On February 14, 2022, the Debtor obtained a discharge under 11 U.S.C. § 727 and

15   the Debtor’s bankruptcy case was closed.

16          D.      On June 28, 2022, the Court entered an Order Assigning Matter to Mediation

17   Program and Appointing Mediator and Alternate Mediator (the “Mediation Order”) [Adv. Docket

18   No. 13]. Sandra J. Coleman, Esq. was appointed as the mediator (the “Mediator”) and Holly

19   Walker, Esq. was appointed as the alternate mediator. The Parties agreed to attend mediation (the

20   “Mediation Conference”) on December 9, 2022 (the “Current Mediation Date”) with the

21   Mediator.

22          E.      Since the entry of the Mediation Order, the County and the People commenced

23   good-faith settlement negotiations with the Defendant which resulted in an informal settlement

24   agreement. The Parties are in the process of memorializing the terms of the settlement into two (2)

25   separate stipulations for entry of judgments to be presented to the Court for approval.

26          F.      On May 25, 2022, in the criminal action commenced by the People against the

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 Case 1:22-ap-01010-MT         Doc 21 Filed 01/25/23 Entered 01/25/23 12:43:52                Desc
                                Main Document    Page 3 of 6



1    Defendant pending in the Los Angeles County Superior Court for the State of California (Case No.

2    SC05143) (the “Criminal Action”), the criminal court dismissed Counts 6, 7, 9 and 12 filed against

3    the Defendant and further held that the People could retry Count 1 (Unpermitted Grading), Count 4

4    (Improperly Placing Fill Material), and Count 8 (Unlawful Land Use ‐ Unpermitted Solid Fill

5    Project). On November 3, 3022 (after a retrial), the jury reached verdicts, declaring a mistrial as to

6    Count 8, but finding the Defendant guilty of misdemeanor Counts 1 (Unpermitted Grading) and 4

7    (Improperly Placing Fill Material).

8           G.      On December 8, 2022, the criminal court sentenced the Defendant on convictions for

9    Counts 1 and 4 (“Defendant’s Sentencing"). With regard to Defendant’s Sentencing, the criminal

10   court imposed certain fines and/or community labor upon Defendant as set forth in a Minute Order

11   dated December 12, 2022.

12          H.      With respect to the LEA’s Case & Desist Order, which was appealed by the

13   Defendant to CalRecycle prior to the Petition Date (the “Defendant’s CalRecycle Appeal”), the

14   appellate hearing was continued pending the outcome of the Criminal Action. At the status

15   conference on December 7, 2022, the Defendant advised the CalRecyle hearing officer that she

16   needed additional time for briefing. On or around January 10, 2023, the following briefing

17   deadlines were established:

18          (i)     February 3, 2023 – Deadline for Defendant’s opening brief;

19          (ii)    February 16, 2023 – Deadline for LEA’s responsive brief; and

20          (iii)   March 2, 2023 – Deadline for Defendant’s reply (if any).

21          I.      Given that a decision on Defendant’s CalRecycle Appeal is not expected to be

22   rendered until sometime after March 2, 2023, the Parties believe there is “good cause” to extend the

23   Current Mediation Date to March 17, 2023 (the “Continued Mediation Date”), which date has

24   been approved in advance by the Mediator.

25          WHEREFORE, in a good faith effort to attempt to settle the underlying causes of action set

26   forth in the Complaint through Mediation, the Parties have agreed to continue the Current Mediation

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 Case 1:22-ap-01010-MT         Doc 21 Filed 01/25/23 Entered 01/25/23 12:43:52           Desc
                                Main Document    Page 4 of 6



1    Date to the Continued Mediation Date of March 17, 2023.

2                                              STIPULATION

3           NOW THEREFORE, it is hereby stipulated by and between the Parties, subject to Court

4    approval, as follows:

5           1.      The Parties hereby stipulate to continue the Current Mediation Date of December 9,

6    2022 to the Continued Mediation Date of March 17, 2023.

7

8    Dated: January 25
                    __, 2023                    RIMON, P.C.

9

10                                              By:
                                                Jacquelyn H. Choi
11                                              Attorneys for Plaintiffs
12

13   Dated: January __, 2023                    ANDREA LYNN MURRAY

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15
                                                By:
16                                              Andrea Lynn Murray
                                                Defendant Pro Se
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Case 1:22-ap-01010-MT           Doc 21 Filed 01/25/23 Entered 01/25/23 12:43:52          Desc
                                 Main Document    Page 5 of 6



1    Date to the Continued Mediation Date of March 17, 2023.

2                                              STIPULATION

3           NOW THEREFORE, it is hereby stipulated by and between the Parties, subject to Court

4    approval, as follows:

5           1.      The Parties hereby stipulate to continue the Current Mediation Date of December 9,

6    2022 to the Continued Mediation Date of March 17, 2023.

7

8    Dated: January    , 2023                   RIMON, P.C.

9

10                                              By:
                                                Jacquelyn H. Choi
11                                              Attorneys for Plaintiffs
12

13   Dated: January    , 2023                    ANDREA LYNN MURRAY

14

15
                                                 By:
16                                               Andrea Ilyn Murray
                                                 Defendant Pro''
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        Case 1:22-ap-01010-MT                      Doc 21 Filed 01/25/23 Entered 01/25/23 12:43:52                                     Desc
                                                    Main Document    Page 6 of 6



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
3579 4th Ave., San Diego, CA 92103

                                                                      Stipulation for Entry of Order Continuing Mediation
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 Conference
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
01/25/2023            I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  United States Trustee: ustpregion16.wh.ecf@usdoj.gov
  Standing Trustee: Nancy J. Zamora, zamora3@aol.com, nzamora@ecf.axosfs.com
  Other Parties in Interest: Raymond H. Aver, ray@averlaw.com, averlawfirm@gmail.com;ani@averlaw.com;
  kayta@averlaw.com; jesus@averlaw.com
                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              01/25/2023        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   Andrea Lynn Murray, and DOES 1-10
   PO Box 3155
   Chatsworth, CA 91313

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                  01/25/2023
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,     I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
 By Email:
 Andrea Murray, bcr2003@aol.com
 Mediator, Sandra J. Coleman, Esq., sandra.coleman@sbcglobal.net
 Alternate mediator, Holly Walker, Esq., holly@veruslawgroup.com
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

01/25/2023         Esteban Garcia                                                              /s/ Esteban Garcia
 Date                       Printed Name                                                        Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
